ease 2:02-cr-204331§§S1E6851]¥HQ1§§H E§iBYIMO(§Oi‘-I>§S§Ee 1 of 2 PagelD 251
FOR THE WESTERN DISTRICT OF TENNES E

WESTERN DIVISION my L/‘(\'T_l_"/UC_

UNITED sTA'rEs oF AMERICA *

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vs. * CR. N0. 2:02ar204;t;;s.;§];;1g_»du

* " “`°`\;~;,-1;, az m
MELlssA HALL *

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On August 30, 2005, Melissa Hall appeared before me on a charge of violation of the terms
and conditions of her supervised release in this matter. The defendant had previously been advised
of her rights under Fed.R.Crirn.P. 5 and 32.1(a), and counsel was appointed.

At this hearing, the defendant was released on bond and, therefore, a preliminary hearing on

the violation was not required. §§_e_ United States v. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976) and

 

United States v. Tucker, 524 F.Zd 77, 78 (5th Cir. 1975), Lm denied, 424 U.S. 966, 96 S.Ct. 1462,

 

47 L.Ed.zd 733 (1976).

Accordingly, defendant, Melissa Hall is held to a final revocation hearing before United
States District Judge Berm°ce B. Domzld It is presumed that the District Judge will set this matter
for a revocation hearing pursuant to Fed.R.Crim.P. 32. l (b), (c), and will see that appropriate notices

are given.

1T ls so 0RDERED thi§¢> day of Ao 3 § z 2005. §

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 
 
 

Th|s document entered on the docket
with Fiule 55 andfor 32(b) FRCrP on

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Financial Unit
FINANCIAL UNIT
167 N. Main St.

Ste. 242

Memphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

